                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )     Case No. 4:12-CR-00283-15/16-BCW
                                             )
HUSAM ELMASRI,                               )
JEFFREYE HINES,                              )
                                             )
                      Defendants.            )

                                             ORDER

       Before the Court is Magistrate Judge John T. Maughmer’s Report and Recommendation

(Doc. #245) denying Defendant Hines’ motion to sever (Doc. #184) and Defendant Elmasri’s

motions to dismiss (Doc. #187), for severance (Doc. #178), and for a separate jury to hear his

case (Doc. #189).      Defendant Elmasri filed objections (Doc. #270) to the Report and

Recommendation. After an independent review of the record, the applicable law, and the

parties’ arguments, the Court adopts Magistrate Judge Maughmer’s findings of fact and

conclusions of law. Accordingly, it is hereby

       ORDERED for the reasons stated in the Report and Recommendation (Doc. #245),

Defendant Hines’ motion to sever (Doc. #184) and Defendant Elmasri’s motion to dismiss (Doc.

#187), motion for severance (Doc. #178), and alternative motion for a separate jury to hear his

case (Doc. #189) are DENIED. It is further

       ORDERED that Magistrate Judge Maughmer’s Report and Recommendation be attached

to and made part of this Order.

       IT IS SO ORDERED.

DATED: November 26, 2013                           /s/ Brian C. Wimes
                                                   JUDGE BRIAN C. WIMES
                                                   UNITED STATES DISTRICT COURT


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